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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA Claim No: 1999A15662

VS.

§
§
§

§
Algina M. Johnson aka Algina Maria Drake aka Algina Allen

 

 

 

COMPLAINT

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this

Court and may be served with service of process at 11415 Piedmont, Detroit, Michigan 48228.
The Debt

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $2,226.00
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $3,982.34

Accrued Interest

C. Administrative Fee, Costs, Penalties $0.00

D. Credits previously applied (Debtor payments, $0.00

credits, and offsets)
E. Attorneys fees $0.00

 
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Total Owed $6,208.34

The Certificate of Indebtedness, attached as Exhibit A", shows the total owed excluding
attorney's fees and CIF charges. The principal balance and the interest balance shown on the Certificate
of Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 10.000% per annum.

Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the date
of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C. §

1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmanlaw.com

 
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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

‘CERTIFICATE OF INDEBTEDNESS

Algina M. Johnson
17541 Lumpkin ST.
Detroit, MI 48212
SSN:

I certify that Department of Education records show that the borrower named above is indebted
to the United States in the amount stated below, plus additional interest from 02/17/99.

On or about 09/09/88, the borrower executed promissory note(s) to secure the loan(s) of
$2226.00 from First Financial Savings and Loan, Stevens Point, WI at 10.00 percent interest per
annum. This loan obligation was guaranteed by the Great Lakes Higher Education Corporation
and then reinsured by the Department of Education under loan guaranty programs authorized
under Title [V-B of the Higher Education Act of 1965, as amended, 20 U.S.C 1071 et seq. (34
C.F.R. Part 682). The holder demanded payment according to the terms of the note(s), and
credited $0.00 to the outstanding principal owed on the loan(s). The borrower defaulted on the
obligation on 09/04/90, and the holder filed a claim on the guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $2378.70 to the holder.
The guarantor was then reimbursed for that claim payment by the Department under its
reinsurance agreement. The guarantor attempted to collect the debt from the borrower. The
guarantor was unable to collect the full amount due, and on 09/20/96, assigned its right and title
to the loan(s) to the Department.

Since assignment of the loan, the Department has received a total of $0.00 in payments from all
sources, including Treasury Department offsets, if any. After application of those payments, the
borrower now owes the United States the following:

Principal: $2226.00
Interest: $1145.33
Administrative Costs: $0.00
Late fees: ee $0.00
Total debt as of 02/17/99: $3371.33

Interest accrues on the principal shown here at the rate of $0.61 per day.

Pursuant to 28 U.S.C. S 1746(2), I certify under penalty of perjury that the foregoing is true and

correct.
e/ Bt] 15 Name: \ cow en Tee
Date Loan A‘valyst, Litigation Branch

Executed on:

   

 
ese 5:11-cv-15086-JCO-Pilt FG Ntads BRURIRY aGBRBAN L712 Page 4 oF7
@UARA  :ED STUDENT LOAN ARPLIGATION,A” PROMISSORY NOTE

SECTION 1-10 BE COMPLETED BY THE BORROWER “IMPORTANT-READ THE INSTRUCTIONS CAREFULLY”

«

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~ | 1, Social Security Number 2, Last Name First Name Middle Initia} 3. Birthdate
ee JOHPSSO6 A/ JAL CIMA | “1.
™ sysmanentHome Address City, State, Zip Code 5. Area pode/Telephone No.
Py
S99 l4ntvue \MeTRoir, mp, Ve20u (PA) S72 Cie
6. hited States [SZ s ChizeniNational 7. You are a pormatent resident of what state? | g Genta nf Nriver’s License
itizenship Status Y °
(Check One) | b. Eligible non-citizen (Allen # ) Mo. | Year C. nee:
(See Instructions) [J c.Neitherofthe above State: Al Since: O | «| la Stateof Veh. Reg.: _ ince:
9, Loan Period : Sue . 10, Loan AmountRequested | 11. Majorcourse of 12, List post sacondary institutio have att di
C; . . x ST t sug 1-7 . A. p vin O nsyou ave attended including dal
From CO | Biro q Lé | | $
13, Have you ever defaulted on a GSL, PLUS/SLS of Consolidation Loan? 14. Have you received a GSL, PLUS/SLS or Consolidation Loan for a period of enroll

 

 

 

: ' before July 1, 19887
Cl Yes (ENS "Ves", see instruction y C] Yes Cw

15. List below all GSL, PLUS/SLS and Consolidation roans. Do Not include Perkins (NDSL) or HEAL Loans. Continue on a separate sheet if necessary. If none write “NONE”. If out-pF-
loan, include proof of interest rate and unpaid balance

 

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f Le Ci Loan Period interest .
» Name of | nder ity and State of Lender Beginning Date Rate Unpald Balance
Mo. Year
| %|$
Year
| % 1 $
18. Wisconsin Residents Only. lf married, spouse’s name and address:
Marita unmarried or
Status: [7] married C] legally separated
17a, Parent or Guardian (If deceased, other relative) 17b, Other Relative (notliving st 17a or 17c or 4) 17¢, Other Relative or Friend ({not living at 178 or 17b

 

 

 

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Address: ch

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Area Code/
Telephone No,

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Promissory Note for a Guaranteed Student Loan NOTICE TO THE MAKER: DO" Not SIGN THIS BEFORE YOU READ THE WRITING ON THE REVERSE 5!
1. Promise To Pay |, callad Maker identified in Section |, [tem 2 and “Endorser,” if at any, identified in Section EVEN IF OTHERWISE ADVISED, YOU ARE ENTITLED TO AN EXACT COPY OF ANY AGREEMENT VOU SIC
|, Itam 18, promise to pay to the lender identified in Saction 3, tem 35, when this note becomes due as set_ | YOU HAVE THE RIGHT AT ANY TIME TO PAY IN ADVANCE THE UNPAID BALANCE DUE UNDER TI
forth in paragraph 6 (on reverse side}, the sum of AGREEMENT. MAKER AND ENDORSE ACKNOWLEDGE RECEIPT OF AN EXACT COPY OF THIS NOTE A

THE STATEMENT.OF BORROWER'S AND, RESPONSIBILITIES
TnTY Th _linpre Tweets Su DOLLARS

 

 

 

 

 

 

 

 

 

 

 

(Seal)

18a, Requested Loan Amount - Must be the same as Item 10 YAR IY . G - G-& Ss
: D

18b, Makef's Signature ¥

($ $oeLs .00} or such lesser amount as is advanced ta ma and Identified to me in the GSL Disclosure
Statement, plus interest computed at the applicable rate disclosed on the GSL Disclosure Statement. If! am
Not satisfied with the terms of the loan on the GSL Disclosure Statement, | may cancel this agreement, |

 

 

 

  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

  

 

agree to contact my lender Immediately’ and [ will not cash any loan check that has been raleased to me. | Date
agres to check the GSL. Disclosure Statement as soon as | gat it and to let my lender know if anyining looks
wrong or If | have any questions, My signature cartifies that | have read and agree to the conditions an 7
authorizations stated In the “Borrower. Cartification” printed on the reversa side, Endorser: s Soc, Sec. No. 1, Endorser’s Address | tomanvh siete
; i ar fren itute SECTION 2-TO BE COMPLETED BY THE SCHOOL
19. Netepsaib spnticid — 20. Addrass "” City, State, Zip Code 21. Area Coge/T. slephone No.
Oak Patk, Michigan 48937 : re 415. a Fee CO
22. SchoolCode | 23. BovajvarEvBlipd 24, Dependency | 25. Loan Period 26. Grade | 27. Anticipated Grad, 28. Est, Cost of &:
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’ a", ede A, . From Mo. Day Year To AY 3% Yaar 0. Year
. ) : - " (
O2 ABS4\CUL Tine ZL | Bey ee CS9 | ov"SS— |g (OST
29. Est. Fin, Aid 30.,€,F, Contribution | 31. ApprovedLoanAmount | 32. oe Oe 32. 2nd Disbursement Date
esl of oe \ Mo... Day Year, Mo, Day Year
g22TOoO fg (2s |p S/ EZ. wees TS
t na ran the ferme of the “School's Certification” printed on the REVERSE SIDE of this application,
Liga f-2T PL THOMAS B, PUZZUCLI, PA. ~ OC op
34, sphred st at Print Nemeand Title ... . Date
- " SECTION 3-TO BE COMPLETED BY THE LENDER
35, NameofLender . 40. jst Disbursement
mount
First Financial Savings and Loan $
36, StreetAddress |. 7 City, State,ZipCode 41, and Disbursement
1305 MainStreet | Stevens Point, WI54481 mount $
37, LenderCode 38, Entity Number 39, Area Code/Telephone No. 42, Jotal Amount
nd pprove
831386 Richat 3 343,0¢90 $ 22a6

 

A. ike o . Operations Manager Go _ of LENDER

43, Signatureot Student Loan Official ___Print Name and Title Date COPYA
208 (3/88) UPON LENDER COMPLETION MAIL ONLY GLHEC COPY TO: GHLEC Processing Center, P.O. Box 7861, Madison, WI 537

 

 

 

 
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2. DEFINITIONS. All words, phreses,‘and condition. _.« defini if fitis Note sha"! bp cénstded adzarding tS common i proved usage unless é tectinifamosning Is ascribed to them by

Fite IV, Part B Higher Education Act of 1985 (20 U.S.C. 1071 et seq.), 85 amended, calleti the “Act” or Federal Regulati.... The U.S. Secretary of Education shall be called the "Secratary”.
~ se ae . . »

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The Grost Lakhé Higher Educatfon Corpotatin stiall be calleif “GLHEC”: :

3, Al LE INTEREST RATE. (1) ‘The Maker agrees to pay an amount equivalent to simple interest (as specified in (4)) on the unpaid principie balance from the date of disbursement until

the entire rincipal sue d accrued Interest are paid In full. (2) However, the Secretary wil pay the Interest that accrues on this loan prior to repayment status and during any deferment, if
it ls doting thet the Maker quallilés {6 have such payments made on the Maker's bahalf under the regulations governing the Guaranteed Student Loan Program (“GSLP”). In the event

thatthe) wibeoet this foan le-payable by the Secretary, neither the lender nor the holder of this Note may attempt to collect the interast from the Maker. The Maker, however, may choose

to pay thelintgest7{s) Once the repayment status begins the Maker will be responsible for all interest that accrues on this loan, except that if the interast accruing on this loan prior to the

rep: eng perio’ ‘was payable by the Secretary, thd Secretary will pay the interest that accrues during any period described under DEFERMENT (par. 13) in this Promissory Note. (4) The
Interest! rate will be determined sctording to the following: (a) If the Maker’has ah outstanding Guaranteed Student Loan(s} (“GSL"} on the date the Maker signs this Note, the applicable

  
 
    
  

 

 

 

Interest rae Will ba tie spate am. the eRe licable “Witerast fate7on the outstanding’ GSLs). (b) If the Maker is borrowing for a. period of enrollment whigh begins before: July 1,
1988, andthe! nethes AG 'ditistanuing GSt(s), the Zpplicabls interest rate’ on this loan ‘will be B%. {c} ff the Maker is borrowing for 8 period of enrollment which begins on or after July 1,
bufore th oF 5n'eny Cénsolidation Ioanls) which ‘repsid loansmade for enroliment period{s) beginning before that date, the applicable interest rate on this loan will be 8%. (d) If the
Mokor Is. nafer'a pélicd of enrofiment-whicrbeging on.or dtter July 1, 1988, and'the Maker has no-outstanding balance on any GSL, PLUS, or SLS made for enrolimant period(s)
thet date or dn any Conspiidation tos (8) which répue loans made for enrofiment period{s} baginning before that date, the applicable interest rate on this loan will be 8%
thé fourth year of the Mukér’s repayment Status'‘dnd will be 10% beginning with the fifth year of the Maker's rapayment status. (5) The applicable interest rate (a) until the end

1988, an ne hater ee 0 dutetiniding GSL(s) but the Makar has ai outstanding balance on any PLUS, Supplemental Loans for Students (“SLS”) made for enroliment periods beginning
at the foutth yesr of the Maker's repayment status, and (b) baginning with the fifth year of the Maker’s repayment status, will be identified on the GLHEC GSL Disclosure Statement: (6) The

   
  
 

Maker may alpo recelve rebates of interest, If required by the Higher Education Act of 1955; as amended, when the applicable interest rate is 10%. (7) The fender or other bolder of this note
Way-6dd gecrned.ubipaid interdst to the unpaid principal balance Icapltatization) of this loan in accordance with regulations and policies of GLHEC.

ANTEE INSURANCE FEE. The Maker agrees fo pay a loan ‘yburantee insurance fee to Lender equal to 1% of the Loan Amount. The amount of this fee will be shown on the GSL
& Statement and it will be deducted propor nally fiorn each disbursement of this loan. This fee may be rafundabla if no amount of this loan has been disbursed to the Makar.

Us A
TTR as The Maker agrees to pay to hie Terider a Joan oiigination fea equal to 5% of thé Loin Amount. This fee may be increased to 5.5% by Prasidential order Issued
reual

fo the sequestration provisions of thé Baldntsd Budget afid Emergency Deficit Control Act of 1985. The amount of this fee will be shown on the GSL Disclosure Statement and it
will be.daducted by the lender from each disbursemphit of the proceeds of the loan in an amount prorated in accordance with the emount of each disbursement.

O.PAVRENTAOF NOTE: During the Interim Poltda sisting of the time the Maker continues to carry at an eligible institution at Jeast one half the normal full-time academic workload es
determined by that institution plus the Grace Pertod, i payments are due from the Maker, and ail intarest accruing will be paid to the lander by the Secretary if the Maker qualifies for interest
subsidy. During the, Grace Period, the lender will provide the Maker and the Maker will sign, a Payment Schedule and Disclosures form which will establish the number and amounts of the
paymentsnetessary to repay the principal and interest die'on this note over the period (“Repayment Period”} commencing at the conclusion of the Grace Period. The lender may add any
accrued Interest for which the Secretary is not Hable ahd sny Interest not paid by the Maker when due to the unpaid principal balance of this loan in accordance with GLHEC regulations. From
the date the Bepayrient Périod begins, the Maker aritf not thie Secretary is Hable for all interest accruing on this Note except during authorized deferment periods. Except where the minimum
‘payniéht provided'th par. 77s applicable, the Repayiient Parlod Tasts at least 5 years but no more than 10 years, {excapt for authorized periods of deferment and forbearance}. ff the lender
and Makar agree to a Repayment Period of less than 5 years, the lender wilt, at thé Maker's request, exterid it to'5 years unless doing so would reduce the Maker's payrnents below the

 
   
 
  
  
 

 

roinimumtraquired by par. 7. The Maker agrees (A) to notify the lender promptly in writing after ceasing to carry at an eligible institution at jaast one half the hormal full-time academic
. {8B} to sign the Payment Schedule and Distlostres farm, provided by tha lender, not later than 120 days prior to the expiration of the Grace Period, end (C) to pay the Note In
-eRED sain the Payment Schodiie and Dindtoniftie form, Recelpt or ig e of the Pay t Schedule and Discl form by the Maker shall not be a condition precedent to liability .

Jor paymgnt OF any sums owed by the Maker and any Enitioreer. .

7, Wihinig? SEAYIENT. The total annual payment By the Maker diring any yéar of the repayment period on all GSL and PLUS/SLS loans made under the Act shall not, unless otherwise

agra iby‘lendér'and Maker, be less than $800 of tha balance of all such loans plus accrued Interest, whichever is less, except that if a husband and wife both have outstanding GSL and

PLU:  lobns, the total combined annua! phymght lon. all such loans by husband and wife shall not be lass than $600 or the combined balance of all such loans plus accrued interast,

“whichéver Is less. The required annus! payment inay'bd more then indicated above depanding on the total amount borrowed.
8, PREPAYMENT WITHOUT PENALTY. The Maker aridariy Endorser may prepay the wholé or any part of this Note at any time without penalty, and may be entitled to rebate of any unearned
_Interast that was paid, oe 2 a ee ee ; . /
®, LATE BAYMENT PENALTY. A late payment panalty miay be assessed on the unpald amount of any installment not paid on or before the 10th day after its scheduled or deferred dup date.
The Ipte charge may not excead 6% of ach Install /nbhit bf $6 for Bach Installment whichever is less. This charge may be added to the Maker's account and deducted from any future payments

-prior to Rocation toward payment of any principal bY Interest.

ca

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1. COLLECTION CHARGES. ‘The Maker and shy Evgenia ave labia ter ait charges and collection costs, including statutorily authorized attorneys fees, that are permitted by Regulations of
the Secretary and are necessary for the collection of ths foan. *

V1, SECURITY INTEREST. This Note is unsecured ard'the lender expressly walves, as security for this Note, any security interest held by the lender.
“42 DIGEEIRGEMENT SCHEDULE. The Make? and Tahaer ‘kgrés Tat ts arndiint paid to the Maker shall be disbursed by check payable to the ordar of and requiring the endorsement of the
ording to the schedule listed on the GSL Disclosure Statement. : .
ENT. Payment of principal will be ire after the repayinent period begins, provided Maker complies with the procedural requirements set forth in the regulations governing
ogrem in any of these circumste ‘ nt-deferment-renewals that may be required: (A) White Maker is enrolled —~ (a) Full-time-study at a school that is participating in the
ast Maker is not 9 oftizen'or m ao United-States and is studying at a schoo! not located In the United States); (b) Full-time study atan institution of higher aducation or a
qegtipnelaghoo! thet (s pperated:ty y.of the. Fadara) Governinentiie.g.; the service academias). {c) A graduate fellowship program epproved by the Sacretary; or (d) A rehabilitation
ereipiga program for disable U i proved Hy tha Secretary. (B) For-pariods not exceeding 3 years for each of the following while Maker is — (a) On active duty in the Armed Forces
‘ sPiated states or serving Ss n ammibsioned:-Corps of thd United States Public Health Services; (b) Serving as a Peace Corps Volunteer; (c). Sarying as a full-time volunteer
‘under Tite | of the Domestls 3h aHMEL Ad Dt Ws. ACTION programe, 2.g., VISTA); (d) Serving ae a full-time volunteer for an organization exempt from Federal income taxation
undar Section 501{c)(3) of the Intarnal Revenue Cods of 1254, while performing service which the Secretary has determined is comparable to service in the Paace Corps or ACTION programs;
or (8) Tamporarily totally disabidds'as sétablished by affidavit of a qiialified physician, or unable to secura employment because Maker is providing care raquited by a dependent who ia
temporatily totally disabled, as’ established by ‘affidavit of a qualified physician. (C) For a period not exceeding 2 years while Maker is serving In an intarnship thatthe Secretary has determined
is necessary for Maker to gal professinfial racognition required to begin professional practice or service. (D) For a period not exceading 2 years while Maker is conscientiously seaking but
unable to find full-time employment in the United States; and (E)} Up to 6 months if borrower is pregnant or caring for a newborn or newly adopted child, and is not in attendance at an eligible
school or gainfully empioyed, and wad anrollad within the past 6 months st an eligible institution. For new borrower receiving 8 loan for a period of enrollment baginning on or after July 1,
1987, payment may also be ‘defeat SAR) Entoliniant at ast half-time {as determined by school), and receiving a GSL for the period of enrollment; (B) Up to 3 years while serving as an
active duty member of the Natit ¢ nig ang Apa erie Administratian Torps; {C} Up to 3 years for full-time elementary or secondary school teachers in a teacher shortaga area
-presoribed by the Secretary; 1D) adts fdr sbrolce fh Bf efigibie Intarhship or residency program leading to a degree or certificate awarded by an institution of higher education, a

 
 
     
  

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.. hospital, or a health’ caré facility that offers post-graduate training; and {E] Up to 1 year for mothers of pre-school children entering or re-entering the work force whe earn less than $1 above
Lak ah wie * ’ a . . .

hace!

minimum wage. a anenane aR om oo
To be granted a deferment, Make? WHat Siovitié the leritier With written evitiente of eligibility. Maker must subsequently notify thé lender as soon as the condition for which the deferment
“was granted no longer exists; == an / %, u ombpri QioiBT! tile ens fs

14. EVENTS, QR-BPPAULT, This Note shall, at the ‘option of the holder, ‘becdme immedista} ‘dug’ dind pdvable upon the assumenoemnghenty ETONSWING Beng of default: (A) Failure of
Maker to aay in afiy ohh instliont when due provided that this failure per§@t@Ter 180 days or 240 days for less frequent installments; or (B) giving false br ifaccurate information
on an.applitation for a student Ign. Appr default all of the Maker's rights under this agreement shall be terminated, including Pye nariaited esas. jenth providedyiar in par. 13,
Payment arrangements Which-rigy be sllbwed by the Great Lakes Higher Education orporagty eins dpfeyec@ UES Gpqaa yr si indtéd righfs-sf the Maker.

ENCES OF Jf man Ventat default (per. 14), Maker and Endorser are jointly and severally ligb and gallectl ding statutorily authorized
sttoffieys fess) pormittéd’ by tec ete SUrby Wiles or-regutations. Issued-by the Secr EL fos tq pis OTRO aTA this loan is referred tor
collection to an agency subject te the FairDabt Collection Practices Act (15 U.S.C, $8 1992 er Sud. 4 a igegPAlhose: collection obsts which do not exceed
2 of the Gnpald principal énd accrue’! Interest. In the event GLHEC obtains a legal fidgment on thé Birt to collect interest onfhe judgmant at any rate

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pl. charges

  
  
   

 

  
  

 

       

  

 

 

 

tsp.to.th r maximum rate of Interest that applicable law may allow with respect to Inteyest on judgmapecipeceatogp i na antaay be greater than thefrate of interest specified

in this Note, repre OE Me , > rh : : a .

18. CH BUREAU NOTIRCATION, lotérmation soncetning the ammount of this joan 4nd its repayment will be reported to one ar more credit bureau organizations. if Maker defaults on this
jonn, fender, the holder ar guaranty agency will also report the default to one or more tredit burenuarganizations Thi stanitteanitty anee Ve aC) to obyain other credit.

_17, ADDENGNAL PROVISIONS. (A): The Maker and any Endorser are jointly and severa habe Relay p es PlatayeOpase hans asa or payment, damand, notice of
nonpayfhert, notice of protest and protest of this Note, and consent to the terms of ary paymeni edule as well as any an ae eae consolidations and renfwais without notice. (B)
‘The Maker égrees to use the proceeds of the loan which this Note evidences solely to Ray hepa dup th n listed on the loan apphication and in which the
Maker Ig enjolied dr accepted for anrollment at the date of this Note, and for the loan pariod i on plication. (C) In the avant of the Maker's death or total and permanent disability,
theunpald tidal ess hereunder sholl-be cancelled pursuant to ragulations promulggted under the Act. (D} The Maker shall notify the lender promptly, jnwad suck any changes from time
to ime Securing th his or her school enrollment status {such as withdrawal from schodLoniassthaahalitinnenttersaree,pracueton oF tansiat 10 ol home address from that

“stated {A the application for the loan. (E} The lender must provide information on the repayment status of this loan to credit burpau organizations upon the Makai’s request. If not otherwise

 

robibitad by the law or regulation, the lender and/or GLHEC will disclose Information about tha stetus of this loan to any credit bureau. (F) Under the conditions set forth in Ir
PiMec ~ By ee governing the GSL program this loan may be transferred to a holder other than the original tender. Upon being notified of such transfer, tha Maker ee the Fedora one
and responsibilities with regard to the stibsequent holder that the Maker had with regard te the original lender. This Promissory Note is not intended to ba a negotiable instrument under the
Uniforny Commercial Code as adopted by any state and s subsequent holder of the Promissory Note cannot be a holder in due course, (G) Consolidation or refinancing options may be
avaliable tc the Maker for GSL and other educational loans. For further infprmation the Maker should contact GLHEC.

BORROWER CERTIFICATION. | declare under penalty of perjury urider the laws of the United States of America that the following Is true and correct, |, the borrowar, certify that the informati

contained In Section 1 of this applicatidn is true, complete and correct to the best of my knowledge and belief and is made in good faith, | also certify that | do not ney te 3 refund on 2
PELL Grant, Basic Grant, Supplamental Educational Opportunity Grant, or State Student Incantive Grant that ! received to attend any school. | further certify that | am not now In default on
any loans received under hb Parkins Loan (formerly Natlonst Direct Student Loan), the Fedara! Insured Student Loan Program, or the PLUS/SLS or ALAS Programs at any school. | hareby
authorize the educational ingtitution to pay to the lender any ‘refund which may be due me up to the arnount of this loan. | further authorize any educational institution that | may attend, or
GLHEC, to mleaee to the. a ing institution, subsequent holder, or their agents, any requasted information pertinent to this Idan {a.g. employment, enroliment status, in history current
addrass). | also authorize tht lendar, subsequent bolder, their agent, educational institution or GLHEC tb make inquires frpm prior or subsequent 0 ayo) spect to my toan
applicattionend releted documents, and to make inquiries pf my parents and other third parties to obtain Informatipn:regarding my | gtign, emp! Pande rcasoPincome. | cartify that
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the proces an made as a fesult of this application will ba used for educational putposes for the academic peridd co’ appli®Stion at the educational instituti
on this form. | uqderstand that | am réaponeible for repaying any funds that | receive which cannot reasonably be attributed to my education expenses related to attendance Shee .
institution for the Sah period stated. further certify that | have read and understand the statement of borrower responsibillties attached to the application. : ag

 
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